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OAO 245B      NNY(Rev. 10/05) Judgment in a Criminal Case
              Sheet 1



                                        UNITED STATES DISTRICT COURT
                         Northern                                    District of                               New York
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                             V.
                        Fu Lin Wu
                                                                           Case Number:                     DNYN507CR000094-002
                                                                           USM Number:              14186-052
                                                                           David M. Colgan, 401 Broadway, New York, New York 10013
                                                                           (212) 431-9380
                                                                           Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the Indictment on July 3, 2007.

G pleaded nolo contendere to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
18 U.S.C. § 1029(a)(3)            Possession of Counterfeit Access Devices                                     1/18/07                    1




       The defendant is sentenced as provided in pages 2 through                   5      of this judgment. The sentence is imposed in accordance
with 18 U.S.C. § 3553 and the Sentencing Guidelines.

G The defendant has been found not guilty on count(s)
G Count(s)                                                  G is     G are dismissed on the motion of the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           December 12, 2007
                                                                           Date of Imposition of Judgment




                                                                           December 18, 2007
BB                                                                         Date
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              Sheet 4—Probation
                                                                                                             Judgment—Page       2     of        5
DEFENDANT:                    Fu Lin Wu
CASE NUMBER:                  DNYN507CR000094-002
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:


2 years.



The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as
determined by the court.

X        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Deselect, if inapplicable.)

G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
         as directed by the probation officer. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement; and
 14)      the defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
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            Sheet 4C — Probation
                                                                                          Judgment—Page   3   of       5
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                                        SPECIAL CONDITIONS OF SUPERVISION


1.        The defendant shall serve 6 months in home detention, commencing on a date and under conditions to be set
          by the probation officer. Electronic monitoring, alcohol monitoring and/or another location verification system
          may be used to monitor the defendant’s compliance. If such a system is used the defendant shall pay all costs
          associated with the use of this system according to his or her ability to pay as determined by the probation
          officer.
2.        The defendant shall report to and remain in contact and cooperate with the Bureau of Immigration and Customs
          Enforcement and the defendant shall fulfill any requirements of U.S. Immigration Law.
3.        If the defendant is deported or otherwise leaves the United States, the defendant shall not enter or attempt to
          enter the United States without the permission of the Secretary of the Department of Homeland Security. If the
          defendant re-enters the United States, the defendant shall report to the probation office in the Northern District
          of New York within 72 hours.
4.        The defendant shall provide the probation officer with access to any requested financial information.


     DEFENDANT’S ACKNOWLEDGMENTOF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy
of them.


                      Defendant                                                    Date



                      U.S. Probation Officer/Designated Witness                    Date
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          Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page     4      of       5
DEFENDANT:                       Fu Lin Wu
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                                            CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5.


                    Assessment                                        Fine                                  Restitution
TOTALS            $ 100                                             $ Waived                              $ N/A



G    The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                       Total Loss*                     Restitution Ordered                 Priority or Percentage




TOTALS                              $                                       $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the              G fine   G    restitution.

     G the interest requirement for the         G       fine    G   restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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          Sheet 6 — Schedule of Payments

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                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X    In full immediately; or

B    G    Lump sum payment of $                           due immediately, balance due

          G    not later than                                 , or
          G    in accordance with    G D,       G E,      G     F, or      G G below; or
C    G    Payment to begin immediately (may be combined with            G D,      G    E, or      G    G below); or

D    G    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

E    G    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F    G    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G    G    Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Lawrence K. Baerman, Clerk, U.S. District Court, Federal Bldg., P.O. Box 7367, 100 S. Clinton
Street, Syracuse, N.Y. 13261-7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim
cannot be located, the restitution paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the
victim is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     G    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.



     G    The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
          of the restitution ordered herein and may order such payment in the future.


G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
